                               UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF TENNESSEE
                                    NASHVILLE DIVISION

CAITLIN O’CONNOR,                                  )
                                                   )    Case No. 3:20-cv-00628
           Plaintiff,                              )
                                                   )    District Judge Richardson
v.                                                 )
                                                   )    Magistrate Judge Frensley
THE LAMPO GROUP, LLC,                              )
                                                   )    Jury Demand
           Defendant.                              )

                         DEFENDANT’S RESPONSE IN OPPOSITION TO
                        PLAINTIFF’S MOTION TO AMEND COMPLAINT

           Defendant, The Lampo Group, LLC, by and through the undersigned counsel, responds

in opposition to Plaintiff’s Motion to Amend Complaint (Doc. #25).

     I.        INTRODUCTION

           Defendant’s opposition to Plaintiff’s motion is more practical than substantive.

Defendant has filed a motion to dismiss Count V of Plaintiff’s Amended Complaint (Doc. #20),

which has now been fully briefed by the parties. Plaintiff has filed this motion for the express

purpose of obviating Defendant’s motion to dismiss. (Doc. #25 at PAGEID #: 258). After

reviewing Plaintiff’s proposed Second Amended Complaint (Doc. #25-1), the newly added

allegations make the case for Defendant’s motion to dismiss even clearer and render the Second

Amended Complaint futile. So, we oppose Plaintiff’s motion primarily to ask the Court to review

and decide it in tandem with Defendant’s motion to dismiss.

     II.       BACKGROUND

           This is an employment case. On July 20, 2020, Plaintiff filed her original Complaint

against Defendant (Doc. #1), alleging violations of the Family and Medical Leave Act of 1993,

29 U.S.C. §2601, et seq. (“FMLA”), Tennessee Maternity Leave Act, T.C.A. §4-21-408




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(“TMLA”), Tennessee Human Rights Act, T.C.A. §4-21-101, et seq. (“THRA”), and Tennessee

Disability Act, T.C.A. §8-50-103, et seq. (“TDA”).

       On February 5, 2021, the parties’ deadline to amend pleadings (Doc. #12), Plaintiff

moved the Court for leave to file an Amended Complaint, which Defendant did not oppose.

(Doc. #16). The Court granted Plaintiff’s unopposed motion on February 10, 2021. (Doc. #17).

Plaintiff’s Amended Complaint (Doc. #18) added violations of Title VII of the Civil Rights Act

of 1964, 42 U.S.C. §2000e, et seq. (“Title VII”), and the Americans with Disabilities Act of

1990, 42 U.S.C. §12101, et seq. (“ADA”).

       On February 23, 2021, Defendant moved the Court to dismiss Count V of Plaintiff’s

Amended Complaint, which alleges religious discrimination and retaliation in violation of Title

VII and the THRA. 1 (Doc. #20). The next day, February 24, 2021, Defendant answered the

remaining allegations of Plaintiff’s Amended Complaint. (Doc. #22).

       On March 9, 2021, Plaintiff filed a brief in opposition to Defendant’s motion to dismiss

Count V of her Amended Complaint. (Doc. #26). She also moved the Court for leave to file a

Second Amended Complaint (Doc. #25). Plaintiff’s Second Amended Complaint is expressly

intended to evade Defendant’s motion to dismiss. (Id. at PAGEID #: 258).

       Defendant has filed a reply brief in support of its motion to dismiss Count V of Plaintiff’s

Amended Complaint (Doc. #29), so that motion is now fully briefed and ready for resolution by

the Court.




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 The THRA is intended to execute the polices embodied in Title VII, so courts typically analyze
THRA and Title VII claims together using the Title VII framework and case law. See, e.g.,
Holland v. LG Elecs. U.S.A., Inc., 2021 BL 13148 at *4-5 (M.D. Tenn. Jan. 12, 2021) (copy
attached as Exhibit 1). Consistent with that approach, Defendant will analyze Plaintiff’s Title VII
and THRA claims together in this brief.
                                                2

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      III.      LEGAL STANDARD

             The deadline to amend pleadings in this case was February 5, 2021. (Doc. #12). Once the

window for amending pleadings has passed, a party seeking to amend their pleading must first

ask the Court for an exception to the scheduling order under Rule 16(b) of the Federal Rules of

Civil Procedure. See, e.g., Shane v. Bunzl Distribution USA, Inc., 275 Fed. Appx. 535, 536 (6th

Cir. 2008); Leary v. Daeschner, 349 F.3d 888, 905-07 (6th Cir. 2003). The Court may grant an

exception to the scheduling order for good cause. See, e.g., Id.; Fed. R. Civ. Pro. 16(b).

             After clearing Rule 16(b), the party seeking to amend their pleading must obtain the

Court’s leave to do so under Rule 15(a)(2). See, e.g., Shane at 536; Leary at 905-07; Fed. R. Civ.

Pro. 15(a)(2). Courts freely grant leave to amend pleadings under Rule 15(a)(2) whenever justice

requires. Fed. R. Civ. Pro. 15(a)(2). However, courts may deny an amended pleading under Rule

15(a)(2) if it would be futile. See, e.g., Spears v. SPi America, LLC, 2012 BL 51912 at *4 (M.D.

Tenn. Mar. 5, 2012). 2 An amended pleading is futile if it would not withstand a motion to

dismiss under Rule 12(b)(6). Id.

             The Court recently restated the legal standard for a motion to dismiss under Rule 12(b)(6)

in Hasting v. First Community Mortgage:

             “[T]he Court must take all of the factual allegations in the complaint as true.
             [Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)]. To survive a motion to dismiss, a
             complaint must contain sufficient factual matter, accepted as true, to state a claim
             to relief that is plausible on its face. Id. A claim has facial plausibility when the
             plaintiff pleads factual content that allows the court to draw the reasonable
             inference that the defendant is liable for the misconduct alleged. Id. Threadbare
             recitals of the elements of a cause of action, supported by mere conclusory
             statements, do not suffice. Id. When there are well-pleaded factual allegations, a
             court should assume their veracity and then determine whether they plausibly give
             rise to an entitlement to relief. Id. at 679. A legal conclusion, including one
             couched as a factual allegation, need not be accepted as true on a motion to
             dismiss, nor are mere recitations of the elements of a cause of action sufficient. Id.


2
    Defendant has attached a copy of this unpublished case as Exhibit 2.
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            at 678; Fritz v. Charter Township of Comstock, 592 F.3d 718, 722 (6th Cir.
            2010); Abriq v. Hall, 295 F. Supp. 3d 874, 877 (M.D. Tenn. 2018) (citing Fritz).
            Moreover, factual allegations that are merely consistent with the defendant's
            liability do not satisfy the claimant's burden, as mere consistency does not
            establish plausibility of entitlement to relief even if it supports the possibility of
            relief. Iqbal, 556 U.S. at 678.

            In determining whether a complaint is sufficient under the standards of Iqbal and
            its predecessor and complementary case, Bell Atlantic Corp. v. Twombly, 550
            U.S. 544 , 127 S. Ct. 1955 , 167 L. Ed. 2d 929 (2007), it may be appropriate to
            ‘begin [the] analysis by identifying the allegations in the complaint that are not
            entitled to the assumption of truth.’ Iqbal, 556 U.S. at 680 . Identifying and
            setting aside such allegations is crucial, because they simply do not count toward
            the plaintiff's goal of showing plausibility of entitlement to relief. As suggested
            above, such allegations include ‘bare assertions,’ formulaic recitation of the
            elements, and ‘conclusory’ or ‘bald’ allegations. Id. at 681. The question is
            whether the remaining allegations — factual allegations, i.e., allegations of factual
            matter — plausibly suggest an entitlement to relief. Id. If not, the pleading fails to
            meet the standard of Fed. R. Civ. P. 8 and thus must be dismissed pursuant
            to Rule 12(b)(6). Id. at 683.”

2018 BL 410338 at *2-3 (M.D. Tenn. Nov. 6, 2018). 3

      IV.       ARGUMENT

            The Court should deny Plaintiff’s motion because she cannot file a Second Amended

Complaint as a matter of course and, in any event, her Second Amended Complaint would be

futile.

            A. Plaintiff cannot file a Second Amended Complaint as a matter of course.

            Plaintiff asserts that she can file a Second Amended Complaint as a matter of course

under Rule 15(a)(1) of the Federal Rules of Civil Procedure. See Doc. #25. Evidently, Plaintiff

interprets Rule 15(a)(1) as allowing parties to amend each of their pleadings once as a matter of

course, no matter how many pleadings there are or when they are filed. Defendant disagrees with

Plaintiff’s interpretation.




3
    Defendant has attached a copy of this unpublished case as Exhibit 3.
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          First, although Defendant has not found a Sixth Circuit case that addresses the number of

amendments allowed under Rule 15(a)(1), other federal courts have held that Rule 15(a)(1) only

allows a party to amend their original pleading one time during an entire case. See, e.g., Montz v.

Pilgrim Films & Television, Inc., 606 F.3d 1153, 1156-57, 1159 FN1 (9th Cir. 2010); Rodgers v.

Lincoln Towing Serv., Inc., 771 F.2d 194, 203 (7th Cir. 1985); Pivonka v. Allstate Ins. Co., 2019

BL 258783 at *2-4 (E.D. Cal. July 11, 2019) 4; Yoo v. BMW Mfg. Co., 2019 BL 112240 at *3

FN4 (D.S.C. Mar. 29, 2019) 5; T.R.P. Co. v. Similasan AG, 2018 BL 436637 at *5 (D. Nev. Nov.

27, 2018) 6; Palaniappan v. Gilbert Hosp. LLC, 2017 BL 478291 at *1-2 (D. Ariz. Dec. 22,

2017) 7; Butler v. Broussard, 2013 BL 142866 at *2 FN21 (N.D. Ala. May 31, 2013) 8; Yagman v.

Galipo, 2013 BL 384538 at *2 FN3 (C.D. Cal. Mar. 25, 2013) 9; CSK, Invs., LLC v. Select

Portfolio Servicing, Inc., 2011 Bl 82673 at *1-2 (D. Ariz. Mar. 29, 2011) 10; Burnham v. United

States, 2008 BL 31811 at *1-2 (D. Ariz. Feb. 19, 2008) 11; TV Communications Network, Inc. v.

ESPN, Inc., 767 F.Supp.2d 1062, 1076-77 (D. Colo. 1991).

          Second, limiting Rule 15(a)(1) to one amendment of the parties’ original pleadings is

consistent with the notes of the Advisory Committee on Civil Rules. When the Advisory



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    Defendant has attached a copy of this unpublished case as Exhibit 4.
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    Defendant has attached a copy of this unpublished case as Exhibit 5.
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    Defendant has attached a copy of this unpublished case as Exhibit 6.
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    Defendant has attached a copy of this unpublished case as Exhibit 7.
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    Defendant has attached a copy of this unpublished case as Exhibit 8.
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    Defendant has attached a copy of this unpublished case as Exhibit 9.
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     Defendant has attached a copy of this unpublished case as Exhibit 10.
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     Defendant has attached a copy of this unpublished case as Exhibit 11.
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Committee last revised Rule 15(a)(1) in 2009, they described the right to amend as a matter of

course as intended to streamline cases by encouraging parties to raise and develop all the issues

in a case upfront rather than seriatim. See Fed. R. Civ. Pro. 15 2009 Advisory Committee Notes.

Allowing the parties to amend every pleading once as a matter of right would tend to have the

opposite effect by complicating and extending cases.

       Third, limiting Rule 15(a)(1) to one amendment of each of the parties’ original pleadings

is consistent with Rule 15(a)(2). In this case, for instance, Plaintiff had to obtain Defendant’s

consent or the Court’s leave under Rule 15(a)(2) to file her Amended Complaint. But, under

Plaintiff’s interpretation of Rule 15(a)(1), she would not need Defendant’s consent or the Court’s

leave to file a Second Amended Complaint. That makes no sense. Under Plaintiff’s

interpretation, parties could use Rule 15(a)(1) as a subterfuge to completely bypass Rule

15(a)(2). A party could propose a modest amendment to their pleading, obtain party consent or

leave of court for that amendment under Rule 15(a)(2), and then unilaterally file a dramatically

amended pleading within 21 days under Rule 15(a)(1) that would have never gained party or

court approval under Rule 15(a)(2).

       Fourth, even if Plaintiff could file a Second Amended Complaint under Rule 15(a)(1),

she would have to overcome Rule 16 first. The parties’ deadline to amend pleadings was

February 5, 2021. (Doc. #12). Since Plaintiff’s motion for leave to amend was filed after that

deadline, Rule 16 controls. See, e.g., Shane at 536. Leary at 905-07.

       Therefore, to file a Second Amended Complaint, Plaintiff must satisfy the criteria of Rule

16 and Rule 15(a)(2). She cannot file a Second Amended Complaint as a matter of course under

Rule 15(a)(1).




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       B. Plaintiff’s proposed Second Amended Complaint would be futile.

       The Court may deny Plaintiff’s motion for leave to amend if her Second Amended

Complaint would be futile. See, e.g., Spears at *4. A proposed amended complaint is futile if it

would not survive a motion to dismiss under Rule 12(b)(6). See, e.g., Id. Here, Defendant’s

motion to dismiss Count V of Plaintiff’s Amended Complaint has been fully briefed and Plaintiff

is seeking to file a Second Amended Complaint in direct response to Defendant’s motion to

dismiss, so the futility analysis is largely a recitation of issues already before the Court.

       Plaintiff’s proposed Second Amended Complaint includes new allegations that are

intended to cure the deficiencies identified by Defendant in Count V of her Amended Complaint.

For the Court’s benefit, Defendant has attached a comparison between Plaintiff’s Amended

Complaint and proposed Second Amended Complaint as Exhibit 12. The new, substantive

allegations are included in Paragraphs 18, 20-23, 59-61, and 65 of Plaintiff’s proposed Second

Amended Complaint:

           •   Addition to Paragraph 18: “Ms. O’Connor does not believe premarital sex is a
               requirement or fundamental tenant [sic] of her faith as a Christian.”

           •   New Paragraph 20: “Plaintiff’s sincerely held Christian belief is that Christianity
               is not meant to be punitive, hateful, vengeful, or judgmental. Accordingly, her
               Christian belief is that God gave a woman the ability to procreate, and that ability
               to procreate was not restricted by a contract, i.e., marriage or employment at
               Ramsey Solutions. Moreover, Plaintiff does not believe that her identification as a
               Christian gives her the right to judge and condemn other Christians or humans for
               how they choose to carry out their one dictate from Jesus, that is, to love one
               another. To the contrary, Ms. O’Connor believes it is inherently unloving to pass
               judgment and condemnation on others for their private relationships.”

           •   New Paragraph 21: “Plaintiff’s view of Christianity does not require her to invade
               or inquire or know the specifics of what other people do or do not do in their
               bedroom or when they do it, much less pass morality judgement on other people.
               Moreover, Plaintiff sincerely believes that she should be able to seek the support
               of her Christian community during her pregnancy without fear of recrimination,
               much less termination from her employment.”


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           •    New Paragraph 22: “When Plaintiff notified Defendant of her pregnancy on June
                18, 2020, she specifically stated to Armando Lopez ‘I needed to let you know that
                I’m 12 weeks pregnant. I understand that being unmarried and expecting is
                frowned on here, but the reality of the situation is this is what I’m walking
                through right now. This is obviously uncharted territory for me so I’m not sure
                what my next steps are regarding sharing the news with my leader, getting FMLA
                & ADA paperwork in case it’s need in the future, etc.’” 12

           •    New Paragraph 23: “In sending this email on June 18, 2020, Plaintiff ostensibly
                requested an accommodation from Defendant’s strict Righteous Living value
                which frowns on, by termination, pregnancy outside of marriage.”

           •    New Paragraph 59: “Plaintiff is a Christian. Her practice and belief of Christianity
                is that Christianity is above all a loving, not punitive and judgmental faith. Her
                practice of Christianity differs from Defendant.”

           •    New Paragraph 60: “Plaintiff notified Defendant she was pregnant on June 18,
                2020, she specifically stated in an email to Armando Lopez ‘I understand that
                being unmarried and expecting is frowned on here, but the reality of the situation
                is this is what I’m walking through right now. This is obviously uncharted
                territory for me so I’m not sure what my next steps are regarding sharing the news
                with my leader, getting FMLA & ADA paperwork in case it’s need in the future,
                etc.’”

           •    New Paragraph 61: “Plaintiff’s email to HR was a request for an accommodation
                from its strict policies which ‘frown on’ pregnancy outside of marriage.”

           •    New Paragraph 65: “Plaintiff does not adhere to Ramsey’s interpretation of
                “Judeo-Christian” values for non-work related behavior.”

(Doc. #25-1).

        Count V of Plaintiff’s Amended Complaint claims that Defendant discriminated against

Plaintiff because of religion, failed to accommodate Plaintiff on the basis of religion, and/or

retaliated against Plaintiff, all in violation of Title VII and the THRA. As Defendant has

discussed at length in its motion to dismiss (Doc. #20) and reply brief (Doc. #29), we are still not

sure whether Count V of Plaintiff’s Amended Complaint is intended to state a religious


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  Plaintiff attached a copy of this June 18, 2020 e-mail to her response in opposition to
Defendant’s motion to dismiss Count V of her Amended Complaint. (Doc. #26-1). We agree
with Plaintiff that the Court should review and consider it.
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discrimination claim, religious accommodation claim, or both. Plaintiff’s proposed Second

Amended Complaint is not much clearer, although the new allegations more closely align with a

religious accommodation claim than a religious discrimination claim. Ultimately, it does not

matter. The new allegations in Plaintiff’s Second Amended Complaint do not cure the

deficiencies of Count V of Plaintiff’s Amended Complaint.

               1. Count V of Plaintiff’s Second Amended Complaint does not state a

                   religious discrimination claim.

       In Count V of Plaintiff’s Amended Complaint, Plaintiff failed to state a religious

discrimination claim because she did not sufficiently allege (1) that she had a sincerely held

religious belief regarding premarital sex or (2) that Defendant terminated her employment for her

sincerely held religious belief regarding premarital sex, as opposed to just for engaging in

premarital sex. See, e.g., Pedreira v. Ky. Baptist Homes for Children, Inc., 579 F.3d 722, 727-28

(6th Cir. 2009); Defendant’s Motion to Dismiss, Doc. #20 at §IV(A); Defendant’s Reply Brief,

Doc. #29 at §§ 2-3. The new allegations in Plaintiff’s proposed Second Amended Complaint do

not cure those deficiencies.

       Plaintiff’s proposed Second Amended Complaint does not allege that she had a sincerely

held religious belief regarding premarital sex. Indeed, quite the opposite. In Paragraph 18 of the

Second Amended Complaint, Plaintiff appears to concede that she does not have a sincerely held

religious belief regarding premarital sex at all: “Ms. O’Connor does not believe premarital sex is

a requirement or fundamental tenant [sic] of her faith as a Christian.” That is fatal to her religious

discrimination claim. The remaining allegations regarding Plaintiff’s beliefs, Paragraphs 20, 21,

59, and 65 of the Second Amended Complaint, touch on things like judgment, privacy,

procreation, pregnancy, and non-work related behavior generally, not premarital sex.


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        Even if Plaintiff’s proposed Second Amended Complaint stated a sincerely held religious

belief regarding premarital sex for Rule 12(b)(6) purposes, there are no allegations, whatsoever,

that Plaintiff informed Defendant of those beliefs or that Defendant terminated her for them. The

parties appear to agree that Defendant terminated Plaintiff’s employment for engaging in

premarital sex, not for her sincerely held religious beliefs (if any) regarding premarital sex 13, and

that simply does not state a claim for religious discrimination under Title VII or the THRA.

Pedreira at 727-28.

               2. Count V of Plaintiff’s Second Amended Complaint does not state a

                   religious accommodation claim.

        Count V of Plaintiff’s Amended Complaint failed to state a religious accommodation

claim for the same reasons that it failed to state a religious discrimination claim. Religious

accommodation and discrimination claims both emanate from Title VII’s singular, broad

prohibition against employment discrimination based on religion. See, e.g., See EEOC v. Publix

Super Mkts., Inc., 481 F.Supp.3d 684, 692 (M.D. Tenn. 2020) (comparing them); Defendant’s

Reply Brief, Doc. #29 at §§ 2-4; 42 U.S.C. §2000e-2(a). The new allegations in Plaintiff’s

proposed Second Amended Complaint do not cure those deficiencies. It does not contain any

allegations that Plaintiff had a sincerely held religious belief regarding premarital sex or that

Defendant terminated her for any such belief, rather than simply for engaging in premarital sex.

        On the specific issue of accommodation, Plaintiff’s proposed Second Amended

Complaint placed more emphasis on the June 18, 2020 e-mail from Plaintiff to Mr. Lopez (Doc.




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  In Plaintiff’s proposed Second Amended Complaint, she acknowledges that Defendant
prohibits premarital sex (Doc. #25-1 at ¶17), concedes that premarital sex is not a requirement or
tenet of her Christian faith (Id. at ¶18), and acknowledges that Defendant terminated her
employment for engaging in premarital sex (Id. at ¶62).
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#26-1) than her Amended Complaint. Plaintiff recited excerpts of that e-mail in Paragraphs 22

and 60 of the Second Amended Complaint. In Paragraphs 23 and 61 of the Second Amended

Complaint, Plaintiff alleges that her e-mail to Mr. Lopez was “ostensibly” a request for religious

accommodation. However, even viewing that e-mail in the light most favorable to Plaintiff, there

is no way to reasonably interpret it as communicating a sincerely held religious belief regarding

premarital sex and requesting a religious accommodation from Defendant. That is a stretch too

far, even for Rule 12(b)(6) purposes.

       More importantly, even if Plaintiff’s e-mail to Mr. Lopez constituted notice of her

sincerely held religious beliefs regarding premarital sex, that her beliefs conflicted with

Defendant’s premarital sex ban, and a request for religious accommodation from Defendant,

Plaintiff sent that e-mail well after she had violated Defendant’s rule and, therefore, Defendant

was not obligated to accommodate her. Chalmers v. Tulon Co., 101 F.3d 1012, 1020 (4th Cir.

1996) (citing Johnson v. Angelica Uniform Group, Inc., 762 F.2d 671 (8th Cir. 1985)); Averett v.

Honda of America Mfg., Inc., 2010 BL 26701 at *11 (S.D. Ohio Feb. 9, 2010) (quoting Chalmers

at 1020).

               3. Count V of Plaintiff’s Second Amended Complaint does not state a claim

                   for retaliation.

       Count V of Plaintiff’s Amended Complaint failed to state a retaliation claim because it

rested entirely on her June 18, 2020 e-mail to Mr. Lopez. Title VII prohibits employers from

retaliating against an employee because they “opposed any practice made an unlawful

employment practice.” 42 U.S.C. §2000e-3(a). However, Plaintiff’s e-mail to Mr. Lopez is

nothing more than an acknowledgement of Defendant’s premarital sex ban and admission that

she violated it. There is no protected activity there. See EEOC v. New Breed Logistics, 783 F.3d


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1057, 1067-68 (6th Cir. 2015) (defining opposition). Plaintiff’s proposed Second Amended

Complaint does not add any new allegations in support of her retaliation claim in Count V.

   V.      CONCLUSION

        Given the futility of the new allegations in Plaintiff’s proposed Second Amended

Complaint, Plaintiff’s motion for leave to amend should be denied under Rule 15(a)(2).

Alternatively, Plaintiff’s motion for leave to file a Second Amended Complaint should be

reviewed in tandem with Defendant’s motion to dismiss Count V of Plaintiff’s Amended

Complaint so that the parties can get a merits-based decision regarding Defendant’s motion to

dismiss and advance this case.

                                            Respectfully submitted,



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                                            Attorneys for Defendant




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                               CERTIFICATE OF SERVICE

       I certify that, on March 23, 2021, I caused a copy of the foregoing document to be filed

through the Court’s CM/ECF system, which will automatically notify and send a copy of the

document to:

Heather Moore Collins
Anne Bennett Hunter
Ashley Shoemaker Walter
Collins & Hunter PLLC

Attorneys for Plaintiff



                                                           /s/Daniel Crowell
                                                           Daniel Crowell (TN #31485)
                                                           Attorney for Defendant




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